                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:11cr190-5

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
WILLIAM CHRISTOPHER SCHOENER,                    )
                                                 )
                 Defendant.                      )
_______________________________                  )

        THIS MATTER is before the court on a letter to chambers written by defendant. In

that letter, defendant requests the return of seized property, to wit, computers, which he

contends are the property of his minor children.     Because defendant is represented by

counsel, direct correspondence with the court is improper. L.Cr.R. 47.1(H). Defendant is

advised to discuss such issue with his attorney who can seek relief in the form of a Motion

for Return of Seized Property under Rule 41(g), Fed.R.Crim.P. Defendant is cautioned that

sending un-counseled letters to the court is not only prohibited, it jeopardizes his legal

interests as such materials could be used against him.

                                         ORDER

        IT IS, THEREFORE, ORDERED that any relief requested by way of the letter

(#56) is denied without prejudice as moot in accordance with L.Cr.R. 47.1(H).



                                             Signed: April 23, 2012




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